                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
vs.                                            )     No. 17-CR-03126-01/05-S-MDH
                                               )
CASEY B. WATKINS,                              )
                                               )
                              Defendant.       )

      MOTION FOR ORDER RETURNING DEFENDANT TO STATE CUSTODY

       Comes now Defendant, Casey B. Watkins, by counsel, and moves the Court for an Order

Returning him to State Custody pending sentencing in this matter.

                                           Suggestions in Support

       1. Defendant is currently on a Writ from the Missouri Department of Corrections.

       2. Defendant is not receiving any credit for his time in county jail awaiting disposition of

           this case.

       3. Defendant indicates that she could be paroled out and released from DOC if she were

           able to return to the custody of the State of Missouri, Missouri Department of

           Corrections. Defendant has already missed two parole hearings.

       4. The sentencing process for Defendant is lengthy and could take up to or more than six

           months.

       5. Returning the Defendant to the custody of the State of Missouri, Missouri Department

           of Corrections will not prejudice the Government in any way.

       6. Allowing the Defendant to return to be paroled will help her custody status at the time

           of sentencing and make things easier to calculate time served credit for her.

       7. Counsel for Defendant has spoken to the Assistant US Attorney assigned to the case,

           Josephine Stockard, and she does not have an objection to the Defendant being returned
        Case 6:17-cr-03126-MDH Document 125 Filed 05/22/19 Page 1 of 2
           to the Missouri Department of Corrections.

       WHEREFORE, for all the foregoing reasons, Counsel for the Defendant respectfully

requests that this Court enter an Order allowing Defendant to return to the custody of the State of

Missouri, Missouri Department of Corrections while she waits for the sentencing process.




                                             Respectfully submitted,


                                             /s/ Marsha D. Jackson________________
                                             MARSHA D. JACKSON #50716
                                             300 John Q. Hammons Pkwy

                                             Suite 205
                                             Springfield, Missouri 65806
                                             Attorney for Defendant



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of May, 2019, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system, which sent e-mail

notification of such filing to all CM/ECF participants in this case and a copy was mailed, via the

United States Postal Service, to all non-CM/ECF participants.


                                             /s/ Marsha D. Jackson________________
                                             MARSHA D. JACKSON #50716

May 22, 2019




         Case 6:17-cr-03126-MDH Document 125 Filed 05/22/19 Page 2 of 2
